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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                        No. 1:16-cv-08637
LITIGATION
                                                       Hon. Thomas M. Durkin
                                                       Magistrate Judge Jeffrey T. Gilbert


 REQUEST FOR A SEPARATE JURY PANEL PURSUANT TO LOCAL RULE 47.1(b)


      Pursuant to Local Rule 47.1(b), I am requesting that a separate jury panel be summoned
for In re Broiler Chicken Antitrust Litigation, 16 CV 8637, to be tried before me.


This trial is anticipated to last 3 months, necessitating a large pool of potential jurors to enable
the Court and counsel to select a jury. This court requests a pool of 500 jurors to select from.
Based on this court’s experience, it will be necessary to send that number of summonses
because of valid excuses due to the length of the trial.


Jury selection is set for September 12, 2023.


DATED: May 30, 2023


                                              HONORABLE THOMAS M. DURKIN
                                              UNITED STATES DISTRICT COURT JUDGE
